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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



Lisa M. Brabbit as trustee for the                     Case No. 21-cv-824 (WMW/JFD)
next of kin of LMJ,

                     Plaintiff,                        PROPOSED ORDER FOR
                                                       PARTIAL DISMISSAL
       vs.

Bree Meduna, in her individual capacity,
Jessica Betlach, and County of Hennepin, Minnesota,

                     Defendants.


       Based upon the terms of the Stipulation for Partial Dismissal [ECF No. 31], IT IS

HEREBY ORDERED that Count Two of Plaintiff’s Complaint for Monell liability

against Hennepin County shall be dismissed with prejudice and without costs or

attorneys’ fees to any party. No other aspect of Plaintiff’s Complaint shall be dismissed

pursuant to this Stipulation and Order.


                                                BY THE COURT:

Dated: ______________                           __________________________
                                                Hon. Wilhelmina M. Wright
                                                United States District Judge
